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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                    Plaintiff,                      Case No. 21-cr-20671
                                                    Hon. Matthew F. Leitman
vs.

JAMES WILDER, II,

                    Defendant.


                  PRELIMINARY ORDER OF FORFEITURE


      Based upon the defendant James Wilder, II’s (“defendant”) conviction for

violating 18 U.S.C. § 922(g)(1) as set forth in the Indictment, the defendant’s

conviction, the Government’s Application for Entry of Preliminary Order of

Forfeiture, the information contained in the record, and pursuant to 18 U.S.C. §

924(d) and 28 U.S.C. § 2461(c) IT IS HEREBY ORDERED, ADJUDGED AND

DECREED THAT:

       1.     The defendant shall forfeit to the United States all right, title and

interest he may possess in any firearm or ammunition involved in the commission

of his offense as property involved in his violation of 18 U.S.C. § 922(g)(1),

including, but not limited to, the following (hereinafter referred to as the “Subject

Property”):
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            Firearm and miscellaneous ammunition:
              o Glock, gen 4 Handgun, Model: 17, Cal: 9MM, S/N: PHP032; and
              o 30 rounds of 9mm ammunition.

      2.     The Subject Property IS HEREBY FORFEITED to the United States

under 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c) for disposition according to law,

and any right, title and interest of the defendant, and any right, title and interest that

his heirs, successors or assigns have, or may have, in the Subject Property is

HEREBY AND FOREVER EXTINGUISHED.

      3.     The Subject Property has a sufficient nexus to the defendant’s offense

of conviction and is subject to forfeiture to the United States pursuant to 18 U.S.C.

§ 924(d) and 28 U.S.C. § 2461(c).

      4.     Pursuant to Fed.R.Crim.P. 32.2(b) Fed.R.Crim.P. 32.2(b)(4)(A) and

(B), this Preliminary Order of Forfeiture shall become final as to the defendant upon

entry and the forfeiture of the Subject Property shall be made part of the defendant’s

sentence and included in his Judgment.

      5.     Upon entry of this Order, the United States, its designee, the Federal

Bureau of Investigation, and/or the U.S. Marshals Service are authorized, pursuant

to Fed.R.Crim.P. 32.2(b)(2) and (3), to seize any property identified above which is

not currently in its custody or control, to conduct any discovery that the Court

considers proper to help identify, locate, or dispose of any property seized, and the




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United States is authorized to begin proceedings consistent with applicable statutory

requirements pertaining to ancillary hearings and the rights of any third parties.

      6.     Pursuant to 21 U.S.C. § 853(n), Fed. R. Crim. P. Rule 32.2, and other

applicable rules, the United States shall publish notice of this Preliminary Order of

Forfeiture and of its intent to dispose of the Subject Property on www.forfeiture.gov,

for at least thirty consecutive days. The United States may also, to the extent

practicable, provide direct written notice to any person or entity known to have an

alleged interest in the Subject Property. The aforementioned notice shall direct that

any person, other than the defendant, asserting a legal interest in the Subject Property

must file a petition with the Court within thirty (30) days of the final date of

publication of notice or within thirty (30) days of receipt of actual notice, whichever

is earlier. The petition shall be for a hearing before the Court alone, without a jury

and in accordance with 21 U.S.C. § 853(n), to adjudicate the validity of the

petitioner's alleged interest in the Subject Property. Any petition filed by a third

party asserting an interest in the Subject Property must be signed by the petitioner

under penalty of perjury and must set forth the nature and extent of the petitioner's

alleged right, title or interest in the Subject Property, the time and circumstances of

the petitioner’s acquisition of the right, title, or interest in the Subject Property, any

additional facts supporting the petitioner's claim, and the relief sought.




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      7.     After the disposition of any motion filed under Fed. R. Crim. P.

32.2(c)(1)(A) and before a hearing on any ancillary petition, the United States may

conduct discovery in accordance with the Federal Rules of Civil Procedure upon a

showing that such discovery is necessary or desirable to resolve factual issues in the

ancillary proceeding.

      8.     If no third-party files a timely petition before the expiration of the

period provided in 21 U.S.C. § 853(n)(2), then this Preliminary Order of Forfeiture

shall become the Final Order of Forfeiture and the United States shall have clear title

to the Subject Property as provided in 21 U.S.C. § 853(n)(7) and Fed. R. Crim. P.

32.2(c)(2); further, the United States shall be authorized to dispose of the Subject

Property as prescribed by law.

      9.     If a third-party files a timely petition for ancillary hearing regarding the

Subject Property, the Court shall enter a final order of forfeiture by amending this

Preliminary Order of Forfeiture as necessary to account for any third-party rights as

provided under Fed. R. Crim. P. 32.2(c)(2).

      10.    The Court shall retain jurisdiction to enforce this order, and to amend

it as necessary, pursuant to Federal Rule of Criminal Procedure 32.2(e).

                                        /s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE

Dated: December 8, 2022


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I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on December 8, 2022, by electronic means and/or ordinary
mail.

                                            s/Holly A. Ryan
                                            Case Manager
                                            (313) 234-5126




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